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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

MARK ROBERTSON,                              )
                                             )
              Petitioner,                    )
                                             )          CIVIL ACTION NO.
V.                                           )
                                             )          3:13-CV-0728-G
LORIE DAVIS, Director,                       )
Texas Department of Criminal Justice         )          (Death Penalty Case)
Correctional Institutions Division,          )
                                             )
              Respondent.                    )

                                         ORDER

        Respondent Lorie Davis has filed a motion to enter a scheduling order (Motion,

docket entry 88) that includes a proposed briefing schedule. Petitioner Mark Robertson

has filed his response in opposition (Response, docket entry 90) that proposes a different

briefing schedule and alleges a need for a stay of his execution scheduled for April 11,

2019.

        This court has received the opinion and order of the United States Court of Appeals

for the Fifth Circuit vacating this court’s denial of funding and remanding“for

reconsideration in light of Ayestas [v. Davis, 138 S. Ct. 1080 (2018)].” Robertson v. Davis,

729 F. App’x 361, 362 (5th Cir. July 5, 2018) (per curiam). In light of this remand order,

the motion for scheduling order is GRANTED, in part, and the following briefing schedule

is ordered:
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      The parties shall file supplemental briefs by January 10, 2019, on the following

questions:

      (1) What issues are before this court on remand?

      (2) How does Ayestas v. Davis, 138 S. Ct. 1080 (2018), apply to Robertson’s funding

requests made the basis of the remand order?

      (3) Should Robertson be granted a stay of execution?

      The parties shall file reply briefs by January 24, 2019.

      SO ORDERED.

November 27, 2018.




                                        ___________________________________
                                        A. JOE FISH
                                        Senior United States District Judge




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